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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
Vv, Criminal Action No. 21-299 (RBW)
MARIPOSA CASTRO, 5
Defendant.
)
ORDER

In accordance with the oral rulings issued by the Court at the status hearing held on
June 30, 2021, via teleconference, it is hereby

ORDERED that the parties shall appear before the Court for a status hearing on
September 1, 2021, at 10:00 a.m., via teleconference by calling 1-877-873-8017 and entering the
Court’s access code (8583213) followed by the pound key (#). It is further

ORDERED that, on or before July 14, 2021, the defendant shall file a submission
advising the Court as to whether she agrees to waive her right to a speedy trial from
June 30, 2021, until the next status hearing scheduled for September 1, 2021.

SO ORDERED this 7th day of July, 2021.

  

REGGIE B. WALTON
United States District Judge
